                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF WISCONSIN


WER1 WORLD NETWORK,

                     Plaintiff,

              v.                                         Case No. 11-C-0901


MICHAEL SCOTT JEWSON,

                     Defendant.


                   ORDER DISMISSING CASE WITHOUT PREJUDICE

       The remaining parties having advised the court, by letter filed January 13, 2015, that

they had settled the final issues in this case,

       IT IS ORDERED that this case is dismissed without prejudice. The dismissal will

convert to a dismissal with prejudice upon the filing by counsel of such a stipulation.

       IT IS FURTHER ORDERED that the parties may move to reopen the case within

thirty days if necessary.

       Dated at Milwaukee, Wisconsin, this 27th day of February, 2015.

                                                         BY THE COURT

                                                         /s/ C.N. Clevert, Jr.
                                                         C. N. CLEVERT, JR.
                                                         U. S. DISTRICT JUDGE




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